         Case 1:23-cv-05322-AT Document 12 Filed 01/05/24 Page 1 of 4




                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

CASEY BENNETT,                 )
                               )
          Plaintiff,           )
                               )    CIVIL ACTION FILE NO.
v.                             )    1:23-CV-05322 -AT
                               )
CITY OF ALPHARETTA,            )
GEORGIA;                       )
BRIAN IADZE;                   )
MONIQUE CLARK; AND             )
ANGELA BENTON,                 )
                               )
          Defendants.          )
_________________________________________________________________

DEFENDANT SERGEANT ANGELA BENTON’S NOTICE OF MANUAL
FILING OF VIDEO EVIDENCE IN SUPPORT OF MOTION TO DISMISS

      COMES NOW Defendant Angela Benton (hereinafter “Sgt. Benton”), by and

through undersigned counsel, gives notice of manual filing of body camera footage

of the incident/booking process of Plaintiff, Casey Bennett on June 5, 2023 produced

by the Fulton County Sheriff’s Department in Support of Defendant, Sergeant

Angela Benton’s Motion to Dismiss.

      Respectfully submitted, this 5th day of January 2024.

                                             OFFICE OF THE               FULTON
                                             COUNTY ATTORNEY

                                             Kaye W. Woodard-Burwell
                                             Deputy County Counsel
                                             Georgia Bar No. 775060
        Case 1:23-cv-05322-AT Document 12 Filed 01/05/24 Page 2 of 4




                                        Shalanda M. J. Miller
                                        Deputy County Counsel
                                        Georgia Bar No. 122544

                                        /s/ Sandy Milord
                                        Sandy Milord
                                        Senior Assistant County Counsel
                                        Georgia Bar No. 622391

                                        /s/ Richard Caplan
                                        Richard Caplan
                                        Georgia Bar No. 597634
                                        Senior Assistant County Counsel

                                        ATTORNEYS FOR ANGELA
                                        BENTON

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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

CASEY BENNETT,                         )
                                       )
             Plaintiff,                )
                                       )   CIVIL ACTION FILE NO.
v.                                     )   1:23-CV-05322 -AT
                                       )
CITY OF ALPHARETTA,                    )
GEORGIA;                               )
BRIAN IADZE;                           )
MONIQUE CLARK; AND                     )
ANGELA BENTON,                         )
                                       )
             Defendants.               )

                           CERTIFICATE OF SERVICE

      THIS IS TO CERTIFY that the undersigned counsel has presented this

document in Times New Roman, 14-point type in accordance with L.R. 5.1(C) and

served a copy of the foregoing DEFENDANT SERGEANT ANGELA

BENTON’S NOTICE OF MANUAL FILING OF VIDEO EVIDENCE IN

SUPPORT OF MOTION TO DISMISS through the Court ECF filing system as

follows to all counsel of record:

      This 5th day of January, 2024.
                              George Brian Spears
                                Jeffrey Filipovits
                                 Wingo F. Smith
                            Spears & Filipovits, LLC
                      315 W Ponce de Leon Avenue, Suite 865
                               Decatur, GA 30030
        Case 1:23-cv-05322-AT Document 12 Filed 01/05/24 Page 4 of 4




                                        /s/ Sandy Milord
                                        Sandy Milord
                                        Senior Assistant County Counsel
                                        Georgia Bar No. 622391

                                        /s/ Richard Caplan
                                        Richard Caplan
                                        Georgia Bar No. 597634
                                        Senior Assistant County Counsel
                                        Richard.Caplan@fultoncountyga.gov

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